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 1                                  PROOF OF SERVICE
 2        I am over the age of 18 years and not a party to the within action. I am
     employed in the County of Orange, State of California. My business address is
 3   Jamboree Center, 5 Park Plaza, Suite 1600, Irvine, California 92614. On the date
     shown below, I served the following documents:
 4
       DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF MOTION TO
 5     DISMISS EQUITABLE CLAIMS IN SECOND AMENDED CLASS ACTION
                              COMPLAINT
 6
     on the interested parties named herein and in the manner indicated below:
 7
          Michael A. Caddell
 8
          mac@caddellchapman.com
 9        Cynthia B. Chapman
          cbc@caddellchapman.com
10
          Amy E. Tabor
11        aet@caddellchapman.com
          CADDELL & CHAPMAN
12
          P.O. Box 1311
13        Monterey CA 93942
          Tel.: (713) 751-0400
14
          Fax: (713) 751-0906
15        Attorneys for Plaintiffs
16        FIRST CLASS U.S. MAIL: I am readily familiar with this business' practice
          for collecting and processing correspondence for mailing. Under that practice,
17        correspondence is placed for collection and mailing in a sealed envelope with
          postage fully prepaid and deposited with the United States Postal Service on that
18        same day in the ordinary course of business.
19   ☒     (ELECTRONIC FILING) I provided the document(s) listed above
           electronically through the CM/ECF Electronic Filing system pursuant to the
20         instructions set forth in the Local Rules for the United States District Court,
           Central District of California.
21
           (E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or
22         an agreement of the parties to accept service by e-mail or electronic
           transmission, I caused the documents to be sent to the person(s) at the e-mail
23         address(es) listed above. I did not receive, within a reasonable time after the
           transmission, any electronic message or other indication that the transmission
24         was unsuccessful.
25         I declare under penalty of perjury under the laws of the State of California and
     the United States of America that the foregoing is true and correct.
26
           Executed on March 10, 2023, at Irvine, California.
27

28
                                                  By: /s/ Mayela C. Montenegro-Urch
                                                  Mayela C. Montenegro-Urch
